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                                  CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on January 18, 2024, I caused the foregoing

Certificate of No Objection Regarding Fifth Monthly Application of Troutman Pepper Hamilton

Sanders LLP for Compensation for Services Rendered and Reimbursement of Expenses as Counsel

for the Official Committee of Unsecured Creditors for the Period from November 1, 2023 Through

and Including November 30, 2023 (the “CNO”) to be served upon the parties set forth on the

attached service list in the manner indicated. I further certify that all ECF participants registered in

these cases were served electronically on January 18, 2024 with the CNO through the Court’s ECF

system at their respective email addresses registered with the Court.



                                                       /s/ Tori L. Remington
                                                       Tori L. Remington (DE No. 6901)
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